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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: July 14, 2020




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                  Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7



                Order Scheduling Prehearing Conference on Contested Matter


         Pending before the court is Piqua Troy Investments, LLC’s Motion for Relief from
 Automatic Stay for Leaseholder at 3415 U.S. Rte., Piqua, Ohio 45356 (doc. 183) and Tagnetics,
 Inc.’s Opposition to Motion for Relief from Automatic Stay (doc. 208) (the “Contested
 Matter”).

       Concurrently with this order, the court entered an agreed order scheduling the final
 evidentiary hearing on the Contested Matter for August 12, 2020 at 1:30 p.m.

        In order to aid the court in preparation for the evidentiary hearing, the court will
 conduct a prehearing status conference on August 6, 2020 at 2:00 p.m. by phone. Counsel
 shall maintain at the phone number filed with the court an open phone line on the above
 date for a period five (5) minutes prior to the above time and continuously thereafter until
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 the pretrial conference commences. If counsel will be available at a different phone number
 other that one filed with the court, they shall provide the court with the appropriate number
 by contacting the courtroom deputy prior to the commencement of the status conference.

        Counsel for Tagnetics, Inc. and counsel for the Piqua Troy Investments shall
 participate in the scheduled prehearing status conference.

        IT IS SO ORDERED.

 Copies to:

 Default List
